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          Exhibit 1
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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

LESLIE COURTNEY

                 Plaintiff,

v.                                                          C.A. No. 1:24-cv-12843-PBS

PAPA, INC.

                 Plaintiff.

           PLAINTIFF’S FIRST SET OF INTERROGATORIES TO DEFENDANT

          Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Plaintiff, Leslie Courtney

(“Plaintiff” or “Ms. Courtney”) hereby requests that Defendant, Papa, Inc. (“Defendant” or

“Papa”) submit written answers to the following interrogatories, under oath and penalty of

perjury, to Timothy C. Cavazza, Esq., Whelan Corrente & Flanders LLP, 100 Westminster

Street, Suite 710 Rhode Island 02903 within thirty (30) days of the date of certification of service

hereof.


                                         INSTRUCTIONS

          1.     Your obligations for responding to these requests are set by Rules 26 and 33 of

the Federal Rules of Civil Procedure and Local Rules 26.1, 26.5, 26.6, 33.1 of the U.S. District

Court for the District of Massachusetts.

          2.     These interrogatories require supplemental answers to the extent required by the

Federal Rules of Civil Procedure. These interrogatories shall be deemed to be a continuing

request for supplemental responses pursuant to said Rules.

          3.     To the extent you cannot answer an interrogatory fully because of a lack of

information, please answer those parts of the interrogatory about which you do have knowledge,

and identify those parts that you cannot answer fully.
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        4.         If any document or other tangible thing that you would have identified in response to

any interrogatory was, but is no longer, in your possession or subject to your control, in addition to

all the information requested above of which you have knowledge, state the present location of the

document or other tangible thing.

        5.         Regarding any information requested that is not within your personal knowledge,

but as to which you have been informed or have formed a belief, state that such information is

furnished on information and/or belief, and state the source of your information and/or the grounds

for your belief.

        6.         In the event that any information sought by the following interrogatories is

withheld on the grounds of attorney-client privilege or work product doctrine, you are requested

to provide a list that specifies, for each withheld answer: (i) the date of the withheld information,

(ii) the identity of those communicating the information unless that information is itself

privileged, and (iii) sufficient information to understand the basis for withholding the answer.

                                             DEFINITIONS

        1.         Unless otherwise indicated herein, these interrogatories rely on the uniform

definitions set forth under Local Rule 26.5 of the U.S. District Court for the District of

Massachusetts.

        2.         “You,” “your”, “Defendant”, or “Papa” shall mean Papa, Inc. and its agents,

members, attorneys, employees, servants, representatives, predecessors, and any person acting on

their behalf or under their direction or control.

        3.         “Complaint” means the complaint that Ms. Courtney filed in this action, Leslie

Courtney v. Papa, Inc. C.A. No. 1:24-cv-12843-PBS.




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           4.     “Answer” means the answer that Papa filed in this action, Leslie Courtney v.

Papa, Inc. C.A. No. 1:24-cv-12843-PBS.

           5.     “Ms. Courtney” shall mean Plaintiff, Leslie Courtney, and her agents, attorneys,

representatives, and any person acting on their behalf or under their direction or control.

           6.     “Describe” means relate as completely as possible each and every act, omission,

incident, event, condition, circumstance, or thing relating directly or indirectly to the subject

matter of the interrogatory, including, but not limited to, dates, documents, communications,

persons, and locations directly or indirectly related to the subject matter of the interrogatory.

                                         INTERROGATORIES

INTERROGATORY NO. 1.

           Identify each and every individual and entity that Papa expects to call as a witness at trial,

including within your response the subject matter upon which each such witness is expected to

testify.

INTERROGATORY NO. 2.

           Identify each person whom Papa expects to call as an expert witness at trial, stating

within your response the subject matter on which the expert is expected to testify, the substance

of the facts and opinions to which the expert is expected to testify, and a summary of the grounds

for each opinion.

INTERROGATORY NO. 3.

           From January 1, 2019 to the present, identify and describe Papa’s policies and procedures

for the retention and purging of electronically stored information, including within your response

the schedule(s), if any, pursuant to which Papa purges such information.




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INTERROGATORY NO. 4.

       From January 1, 2019 to the present, identify and describe how and where Papa stored

and backed up its electronically stored information, including within your response a description

of the types of storage devices or services used by Papa, how they were kept or maintained, how

frequently back-ups were performed, any tape rotation cycles, and how and when any backup

data was destroyed or otherwise purged by Papa.

INTERROGATORY NO. 5.

       Identify all complaints (internal and external), lawsuits, arbitrations, administrative

charges, or other such proceedings to which Papa is or has been a party involving allegations of

discrimination, harassment, and/or retaliation, including within your response a general

description of each proceeding’s subject matter, case/docket number (if applicable), venue (if

applicable), and (if the proceeding is no longer pending) how it resolved.

INTERROGATORY NO. 6.

       Identify every person who supervised or evaluated Ms. Courtney’s work during her

employment at Papa, including within your response each such person’s job title and the

timeframe between which they supervised her.

INTERROGATORY NO. 7.

       Identify and describe Papa’s investigation process and/or procedure for internal

complaints of discrimination, harassment, and/or retaliation.

INTERROGATORY NO. 8.

       Identify and describe all complaints concerning Charles Hector that Papa received from

any current or former employee, including Ms. Courtney.




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INTERROGATORY NO. 9.

         Describe Papa’s investigation of each complaint identified in Interrogatory No. 8,

including within your response the identification of any and all witness(es) who were

interviewed, the person(s) who conducted any witness interviews, and the date, time, location,

nature, and scope of any witness interviews.

INTERROGATORY NO. 10.

         Identify all video and audio recordings – whether they currently exist or existed at some

point in the past – related to any complaint or investigation identified in Interrogatory Nos. 8 and

9, including within your response whether the recording referenced in Paragraph 78 of the

Complaint currently exists or ever existed.

INTERROGATORY NO. 11.

         Identify all persons who interviewed Ms. Courtney concerning the complaint she filed

with Papa on or about February 14, 2022, including within your response the identify of all

persons who interviewed Ms. Courtney on or about February 18, 2022, as alleged in Paragraph

71 of the Complaint.

INTERROGATORY NO. 12.

         State and describe the basis for Ms. Courtney’s termination from Papa on March 30,

2022.

INTERROGATORY NO. 13.

         Identify and describe all disciplinary, corrective, or other performance-based action taken

against Charles Hector during his employment with Papa, including within your response a

description of the “coaching” referenced by Priyanka Gupta in her March 23, 2022, email to Ms.

Courtney attached to the Complaint as Exhibit A.


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INTERROGATORY NO. 14.

       Identify and describe the “feedback” that Andrew Parker gave to Charles Hector “about

his behavior” as referenced by Priyanka Gupta in her March 23, 2022, email to Ms. Courtney

attached to the Complaint as Exhibit A.


INTERROGATORY NO. 15.

       Identify and describe any and all changes to Nick Helfrich’s compensation and

employment benefits between January 1, 2019, and the present, including, but not limited to,

wages, salary, bonus, commissions, variable compensation (potential and actual), deferred

compensation, equity incentives, stock options, etc., including within your response a description

of the compensation and employment benefits that were in effect before and after each change.


INTERROGATORY NO. 16.

       Identify and describe the rationale or reason supporting each change to Nick Helfrich’s

compensation and employment benefits between January 1, 2019, and the present.


INTERROGATORY NO. 17.

       Identify the person(s) responsible for establishing and/or changing the compensation and

employment benefits for Ms. Courtney and Mr. Helfrich between January 1, 2019, and the

present.


INTERROGATORY NO. 18.

       Identify and describe the organizational and supervisory reporting structure for Papa’s

employees from January 1, 2019, to the present.




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INTERROGATORY NO. 19.

       Identify and describe all communications between Papa and Charles Hector concerning

Ms. Courtney from January 1, 2019, to the present.

INTERROGATORY NO. 20.

       Identify and describe the rationale or reason supporting the computation of Ms.

Courtney’s base salary and annual bonus that she received for each year of her employment at

Papa, including within your response a description of any applicable policies, guidelines, or other

metrics referred to and/or utilized in computing her base salary or annual bonus.

INTERROGATORY NO. 21.

       Identify the person(s) who replaced Ms. Courtney and/or performed the duties and

responsibilities of Ms. Courtney’s prior position at Papa from April 1, 2022, through the present.

INTERROGATORY NO. 22.

       State the basis of Papa’s response in ⁋ 73 of its Answer that Papa “lacks knowledge or

information sufficient to form a belief as to the truth of the allegations” in ⁋ 73 of the Complaint,

including within your response an explanation of how Papa lacks knowledge or information

concerning its own investigation into Ms. Courtney’s complaint.

INTERROGATORY NO. 23.

       State the basis of Papa’s denial in ⁋ 106 of its Answer, including within your response

whether Charles Hector was scheduled to take and/or did, in fact, take a business-related trip to

South Carolina in or around April 2022.

INTERROGATORY NO. 24.

       State the basis of Papa’s response in ⁋ 106 of its Answer, including within your response

the identification and description of each and every communication between Ms. Courtney and


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Charles Hector that forms the basis of Papa’s admission that “Plaintiff and Mr. Hector had a

conversation about Mr. Alderman’s accounts.”

INTERROGATORY NO. 25.

       State the basis of Papa’s response in ⁋ 105 of its Answer, including within your response

the identification and description of each and every communication between Ms. Courtney and

Priyanka Gupta during their March 28, 2022, meeting.

                                            LESLIE COURTNEY

                                            By her attorneys,


                                            /s/ Timothy C. Cavazza
                                            /s/ Jessica A. Sclafani
                                            Timothy C. Cavazza, Esq. (BBO #670227)
                                            Jessica A. Sclafani, Esq. (BBO #707997)
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                                            Phone: (401) 270-4500
                                            Fax: (401) 270-3760
                                            tcavazza@whelancorrente.com
                                            jsclafani@whelancorrente.com

Dated: April 25, 2025




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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of April, 2025, I served the within document by e-
mail on all counsel of record as follows:

Stephen T. Paterniti
Laura K. Terrasi
JACKSON LEWIS P.C.
75 Park Plaza, 4th Floor
Boston, Massachusetts 02116
Stephen.paterniti@jacksonlewis.com
Laura.terrasi@jacksonlewis.com


                                                     /s/ Timothy C. Cavazza




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